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                                UNITED STATES DISTRICT COURT

                                        DISTRICT OF MAINE


UNITED STATES OF AMERICA                          )
                                                  )
          v.                                      )      Case No. 1:20-mj-00316-JCN
                                                  )
KATRINA F. PREBLE                                 )      18 U.S.C. § 875(c)
                                                  )      (Interstate Threats)
                                                  )
                                                  )


                                     MOTION FOR DETENTION

       The United States moves for pretrial detention of the defendant, pursuant to 18 U.S.C.

' 3142.

       1. Eligibility of Case. This case is eligible for a detention order because the case

involves:

                   Conditions requiring a temporary detention order (18 U.S.C. ' 3142(d))

               X          Crime of violence

                   Maximum sentence life imprisonment or death

                          10+ year drug offense

                   Felony, with two prior convictions in above categories

       ______             Possession of a firearm

                          Serious risk defendant will flee

                   Serious risk obstruction of justice

       2. Reasons for Detention.

       (i) Temporary Detention.
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        (ii) Other than Temporary Detention. The court should detain the defendant because

there are no conditions of release which will reasonably assure:

                 __ Defendant's appearance as required

                 _X_ Safety of any other person and the community

        3. Date of Detention Hearing. The United States requests that the detention hearing be

 held after a continuance of three days.

        4. Length of Detention Hearing. The United States will require a half hour to present

its case for detention.

Date: November 16, 2020                                     Respectfully submitted,

                                                            HALSEY B. FRANK
                                                            United States Attorney

                                                            BY: /s/ ANDREW McCORMACK
                                                            ANDREW McCORMACK
                                                            Assistant United States Attorney
